                                      United States Bankruptcy Court
                                     Western District of Washington
In re:                                                                                  Case No. 17-43644-BDL
Nelson M Melo                                                                           Chapter 7
Sandra K Melo
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0981-3           User: admin                  Page 1 of 3                   Date Rcvd: Oct 30, 2017
                               Form ID: ntcclm              Total Noticed: 99


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 01, 2017.
db/jdb        #+Nelson M Melo,    Sandra K Melo,    18509 NE 191st Circle,      Brush Prairie, WA 98606-8619
956224766       4Front Engineered SolutionsInc,     PO Box 67795,     Dallas, TX 75267-7795
956224767      +Alameda County Superior Court,     Case No. RG17866895,     1225 Fallon Street,
                 Oakland, CA 94612-4278
956224768      +All County Concrete CuttingLLC,     PO Box 184,     Battle Ground, WA 98604-0184
956224769       All County Electirc, LLC,     15515NW 2nd Ave,     Vancouver, WA 98685
956224770      +Arthur Samuel Humphrey, AAL,PC,     181 Butcher Road,     Vacaville, CA 95687-5656
956224771      +B&L Wood Creations, LLC,     669 S. First Ave.,,     Suite 100,    Hillsboro, OR 97123-4541
956224772      +Bailey Fence Company,    3205 Baumberg Ave.,      Hayward, CA 94545-4400
956224778      +CETS Inc,    1441 N. Northlake Way,     Suite 214,    Seattle, WA 98103-8988
956224785      +CT Corporation,    Po Box 4348,    Carol Stream, IL 60197-4348
956224777      +Cal-West Concrete Cutting Inc,     3000 Tara Ct.,     Union City, CA 94587-1508
956224780      +Chino Floor Covering LLC,     80 S. Magnoliz St.,     Cornelius, OR 97113-7148
956224781      +Christopher Kayser,    Larkins Vacura Kayser LLP,      121 SW Morrison Street,    Suite 700,
                 Portland, OR 97204-3183
956224782      +Columbia Metal Fabrications,     14014 NE Salmon Creek Ave.,      Building 2,
                 Vancouver, WA 98686-1610
956224784      +Crowley Landscape Management,     PO Box 4426,     Wilsonville, OR 97070-4426
956224786       D&F Plumbing,    4636 N. Albina Ave.,,     Portland, OR 97217-3099
956224787      +Don Chapin Precast,    2735 Bolsa Rd.,     Hollister, CA 95023-9300
956224788      +Donald Bradley,    Musick, Peeler & Garrett LLP,      650 Town Center Drive,    Suite 1200,
                 Costa Mesa, CA 92626-7166
956224789      +Double Eagle Construction LLC,     20800 NE 182nd Ave,     Battle Ground, WA 98604-3604
956224790      +Downing Diversified LLC,     PO Box 33,    Kalama, WA 98625-0100
956224792      +Evergreen Concrete Cutting Inc,     PO Box 1751,     Sumner, WA 98390-0370
956224793      +Extreme Industrial Coatings In,     703 N. Abby St.,     Fresno, CA 93701-1001
956224794      +Faithful Fence Co.,    10720 NE 8th St.,     Vancouver, WA 98664-4440
956224795      +Fast Wrap USA,    PO Box 17111,    Reno, NV 89511-2886
956224796      +Fine Line Concrete, LLC,     PO Box 66742,    Portland, OR 97290-6742
956224797      +Flex Properties/Cold Creek LLC,     PO Box 821577,     Vancouver, WA 98682-0036
956224800       GLISS,    28396 SW Boberg Rd.,    Suite B,    Wilsonville, OR 97070
956224803      +GTS Interior Supply,    PO Box 97090,     Kirkland, WA 98083-9790
956224799       Gale Contractor,    Attn: AR,    PO Box 534451,     Atlanta, GA 30353-4451
956224802      +Granite Construction Company,     1525 E Marine View Drive,      Everett, WA 98201-1927
956224804      +Hanson & Fitch, Inc.,    PO Box 175,     Danville, CA 94526-0175
956224805       Herc Rentals,    PO Box 650280,    Dallas, TX 75265-0280
956224806       Home Depot,    PO Box 18316,    Columbus, OH 43218-3176
956224808      +Hood River Consulting Engineer,     1784 May Street,     Hood River, OR 97031-1353
956224809      +Hydro-Tech Fire Protection Inc,     PO Box 40,     Brush Prairie, WA 98606-0040
956224810      +J2 Printing,    8100 NE St. Johns Rd.,     #B101,    Vancouver, WA 98665-2012
956224813      +JRT Mechanical,    PO Box 1450,    Battle Ground, WA 98604-1450
956224811       Jack’s Overhead Doors Inc,     PO Box 230368,     Portland, OR 97281-0368
956224812      +Janette Leonidou,    Leonidou & Rosin, P.C.,      777 Cuesta Dr.,    Suite 200,
                 Mountain View, CA 94040-3765
956224814      +Kyocera Financial Services,     800 Walnut Street,     Des Moines, IA 50309-3605
956224815      +Landtech Consultants,    3845 Beacon Ave.,     Suite D,    Fremont, CA 94538-1463
956224818      +LineScape LLC,    19100 SW 51st Ave,     Tualatin, OR 97062-8737
956224819      +Marcus Eyth,    Davis Wright Tremaine LLP,     1300 SW Fifth Ave,     Suite 2400,
                 Portland, OR 97201-5682
956224820      +Marlin Business Bank,    PO Box 637,     Mount Laurel, NJ 08054-0637
956224821      +Marten Transport, LTD,    129 Marten St,     Mondovi, WI 54755-1700
956224823       Modular Space Corp,    12603 Collections Center Dr.,      Chicago, IL 60693-0126
956224824     #+Morgan Y. Melo,    18509 NE 191st Circle,     Brush Prairie, WA 98606-8619
956224827     ++NISSAN MOTOR ACCEPTANCE CORPORATION,      LOSS RECOVERY,    PO BOX 660366,    DALLAS TX 75266-0366
               (address filed with court: Nissan-Motor Acceptance Corp,         8900 Freeport Pkwy,
                 Irving, TX 75063)
956224830       NW Natural,    PO Box 6017,    Portland, OR 97228-6017
956224765     #+Nelson Melo,    18509 NE 191st Circle,     Brush Prairie, WA 98606-8619
956224826      +Nielsen Masonry Inc,    PO Box 44,    Yacolt, WA 98675-0199
956224828      +North Coast Iron Corp,    8584 S. March’s Point Rd,      Anacortes, WA 98221-8687
956224829      +Northwest Scaffolding Service,     PO Box 33863,     Portland, OR 97292-3863
956224831      +Overhead Door Co. of Portland,     PO Box 10576,     Portland, OR 97296-0576
956224832      +Patriot Fire Protection Inc,     2707 70th Ave. East,     Tacoma, WA 98424-3642
956224833      +Power Plus,    1210 N. Red Gum St.,     Anaheim, CA 92806-1820
956224834      +Premium Websites LLC,    2712 NE 97th Ave,     Vancouver, WA 98662-7403
956224835      +Professional Flooring Supply,     PO Box 7558,     Fort Worth, TX 76111-0558
956224837      +Richard B. Moore,    135 Willow Drive,     Danville, CA 94526-3518
956224838      +River City Environmental,     PO Box 30087,    Portland, OR 97294-3087
956224839      +Rocky Mountain Sanitation,     PO Box 4349,    Grand Junction, CO 81502-4349
956224840       Roof Toppers, Inc,    5709 NE 88th St.,     Vancouver, WA 98665-0938
956224841     #+Sandy & Nelson Melo,     18509 NE 191st Circle,      Brush Prairie, WA 98606-8619
956224843      +Sawtooth Caulking, Inc,     PO Box 1096,    Lafayette, OR 97127-1096
956224844      +Schulz-Clearwater Sanitation,     PO Box 1404,     Tualatin, OR 97062-1404


         Case 17-43644-BDL          Doc 15       Filed 11/01/17    Ent. 11/01/17 21:28:00       Pg. 1 of 4
District/off: 0981-3            User: admin                  Page 2 of 3                   Date Rcvd: Oct 30, 2017
                                Form ID: ntcclm              Total Noticed: 99


956224845        +Sherwin Williams,    14603 NE 20th St.,    Suite 1,    Bellevue, WA 98007-3743
956224847        +Simon Contractors,    PO Box 2469,    Gillette, WY 82717-2469
956224849        +Solid Solutions,    2700 NE Burton Rd.,    Suite B,    Vancouver, WA 98662-7399
956224851        +Steven W. Borders LLC,    2014 NE 179th Street,     Ridgefield, WA 98642-5526
956224852        +Stonhard,   1000 E. Park AVe.,     Maple Shade, NJ 08052-1200
956224853        +Storm’s Specialty Services Inc,     2779 Riverside Parkway,    Grand Junction, CO 81501-2779
956224854        +Summit Drywall & Painting Inc,     4866 E. 2nd St.,    Benicia, CA 94510-1023
956224855         Sunbelt Rentals,    PO Box 409211,    Atlanta, GA 30384-9211
956224856        +Taylor Metal Products, Inc.,    4566 Ridge Dr. NE,     Salem, OR 97301-6992
956224857         The Parr Company,    PO Box 2690,    Portland, OR 97208-2690
956224861        +USDC-District of Oregon,    Case No. 3:17-cv-01211-YY,     1000 SW 3rd Ave,
                   Portland, OR 97204-2930
956224860         United Site Services,    PO Box 53267,    Phoenix, AZ 85072-3267
956224863        +Vine Electric, Inc,    101 West American Canyon Rd.,     Unit 508-202,
                   American Canyon, CA 94503-1162
956224864        +Vision Concrete, Inc.,    PO Box 423,    Yacolt, WA 98675-0599
956224865        +W.H. Cress,   9966 SW Katherine Street,     Portland, OR 97223-5270
956224867        +WH Cress Company Inc,    1824 Bickford Ave,    Suite F,    Snohomish, WA 98290-1752
956224868         William D. White Co., Inc,    3505 Magnoia Street,     Emeryville, CA 94608-4127

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BDATHACKER.COM Oct 31 2017 00:08:00       Don Thacker,   PO Box 118,
                 La Center, WA 98629-0118
smg             EDI: WADEPREV.COM Oct 31 2017 00:08:00      State of Washington,    Department of Revenue,
                 2101 4th Ave, Ste 1400,    Seattle, WA 98121-2300
956224775       EDI: BANKAMER.COM Oct 31 2017 00:08:00      Bank of America,    PO Box 15220,
                 Wilmington, DE 19886-5220
956224773       EDI: BANKAMER.COM Oct 31 2017 00:08:00      Bank of America,    PO Box 15710,
                 Wilmington, DE 19886-5710
956224783       E-mail/Text: WST_Bankruptcy@cable.comcast.com Oct 31 2017 00:12:44        Comcast,    Po Box 34744,
                 Seattle, WA 98124-1744
956224791      +E-mail/Text: pzilmer@entekhvac.com Oct 31 2017 00:12:15       Entek Corporation,
                 1021 Columbia Blvd.,    Longview, WA 98632-1024
956224801       E-mail/Text: scd_bankruptcynotices@grainger.com Oct 31 2017 00:12:14        Grainger,
                 PO Box 419267,   Kansas City, MO 64141-6267
956224807      +E-mail/Text: melinda@nwcascade.com Oct 31 2017 00:12:44       Honey Bucket,    PO Box 73399,
                 Puyallup, WA 98373-0399
956224817      +E-mail/Text: ZyCredit.A.User@lesschwab.com Oct 31 2017 00:12:36       Les Schwab,     PO Box 546,
                 Battle Ground, WA 98604-0546
956224836       E-mail/Text: RSSNBankruptcy@repsrv.com Oct 31 2017 00:12:13       Republic Services,
                 PO Box 78829,   Phoenix, AZ 85062-8829
956224850      +E-mail/Text: gfuentes@ssdsystems.com Oct 31 2017 00:12:07       SSD Systems,    1740 N. Lemon St.,
                 Anaheim, CA 92801-1007
956224846       E-mail/Text: bankruptcy@water.com Oct 31 2017 00:12:11       Sierra Springs,    PO Box 660579,
                 Dallas, TX 75266-0579
956224848       E-mail/Text: bankruptcy@simplexgrinnell.com Oct 31 2017 00:12:19       Simplex Grinnell,
                 Dept. CH,   10320,    Palatine, IL 60055-0320
956224858       E-mail/PDF: sluna@ur.com Oct 31 2017 08:44:56       United Rentals,   PO Box 51122,
                 Los Angeles, CA 90074-1122
956224862       EDI: VERIZONWIRE.COM Oct 31 2017 00:08:00       Verizon Wireless,   PO Box 660108,
                 Dallas, TX 75266-0108
956224866       EDI: WFFC.COM Oct 31 2017 00:08:00      Wells Fargo Financial Leasing,     PO Box 10306,
                 Des Moines, IA 50306-0306
956238539      +EDI: WFFC.COM Oct 31 2017 00:08:00      Wells Fargo Financial Leasing, Inc.,     800 Walnut Street,
                 MAC N0005-055,   Des Moines, IA 50309-3605
                                                                                               TOTAL: 17

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
956224825         Nateras Construction Copr,   13117 NW 29th Ct.,     WA 98695
956224774*        Bank of America,   PO Box 15710,    Wilmington, DE 19886-5710
956224776*        Bank of America,   PO Box 15710,    Wilmington, DE 19886-5710
956224779*       +CETS Inc,   1441 N. Northlake Way,    Suite 214,    Seattle, WA 98103-8988
956224798*       +Flex Properties/Cold Creek LLC,    PO Box 821577,    Vancouver, WA 98682-0036
956224816*       +Landtech Consultants,   3845 Beacon Ave.,    Suite D,    Fremont, CA 94538-1463
956224842*       +Sandy & Nelson Melo,   18509 NE 191st Circle,     Brush Prairie, WA 98606-8619
956224859*        United Rentals,   PO Box 51122,    Los Angeles, CA 90074-1122
956224822      ##+Mid-Columbia Caulking Inc,   9901 NE 7th Ave,     Suite#a215,   Vancouver, WA 98685-4527
                                                                                                 TOTALS: 1, * 7, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


            Case 17-43644-BDL        Doc 15       Filed 11/01/17   Ent. 11/01/17 21:28:00       Pg. 2 of 4
District/off: 0981-3                  User: admin                        Page 3 of 3                          Date Rcvd: Oct 30, 2017
                                      Form ID: ntcclm                    Total Noticed: 99


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 01, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 29, 2017 at the address(es) listed below:
              David W Richardson    on behalf of Debtor Nelson M Melo david@pdxlawgroup.com,
               ed@pdxlawgroup.com;jeff@pdxlawgroup.com
              David W Richardson    on behalf of Joint Debtor Sandra K Melo david@pdxlawgroup.com,
               ed@pdxlawgroup.com;jeff@pdxlawgroup.com
              Don Thacker    dat7law@gmail.com, WA32@ecfcbis.com
              United States Trustee    USTPRegion18.SE.ECF@usdoj.gov
                                                                                             TOTAL: 4




           Case 17-43644-BDL                Doc 15       Filed 11/01/17          Ent. 11/01/17 21:28:00              Pg. 3 of 4
Form ntcclm (01/2017)

                                     UNITED STATES BANKRUPTCY COURT
                                          Western District of Washington
                                              1717 Pacific Avenue
                                                   Suite 2100
                                               Tacoma, WA 98402


In
Re:                                                         Case Number: 17−43644−BDL
       Nelson M Melo                                        Chapter: 7
       SSN: xxx−xx−2331

       Sandra K Melo
       SSN: xxx−xx−5160

       Debtor(s).

                                       NOTICE TO FILE PROOF OF CLAIM
                                        DUE TO RECOVERY OF ASSETS
                                        AND PAYMENT OF ESTATE FEES


YOU ARE NOTIFIED that the Trustee in this case, Don Thacker, has discovered assets. Creditors who wish to
share in any distribution of funds must file a proof of claim with the Clerk of the Bankruptcy Court at the address
above on or before February 1, 2018.

Creditors who do not file a proof of claim on or before this date may not be entitled to share in any distribution from
the Debtor's estate.

A Proof of Claim form may be filed electronically through the Court's website:
http://www.wawb.uscourts.gov/eclaims.htm. Filing claims electronically requires access to the internet, but no login
or password is required. Alternatively, claims can be submitted to the Court in paper through the U.S. Mail.

There is no fee for filing the proof of claim.

                           ANY CREDITOR WHO HAS FILED A PROOF OF CLAIM
                          ALREADY NEED NOT FILE ANOTHER PROOF OF CLAIM


If the Trustee recovers assets in this case, the estate will be required to pay banking fees not to exceed 2% of the
estate's bank account balance per year. In addition, the estate may be required to pay a bond premium not to exceed
0.1% of the estate's bank account balance. If you object to the payment of these amounts, you must file an objection
with the Court on or before the deadline set above for the filing of proofs of claim and set the matter for hearing.


Dated: October 29, 2017


                                                            Mark L. Hatcher
                                                            Clerk of the Bankruptcy Court




      Case 17-43644-BDL             Doc 15       Filed 11/01/17      Ent. 11/01/17 21:28:00           Pg. 4 of 4
